Case 4:12-cr-20287-MAG-MJH ECF No. 609, PageID.3208 Filed 05/23/14 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff,                             HON. MARK A. GOLDSMITH
v.                                                             Case No. 12-CR-20287

ALEXANDRA NORWOOD, et al.,

                  Defendants.
__________________________________/

     ORDER REGARDING DEFENDANT JOHNATHAN OLDHAM’S OBJECTION TO
                   CLOSING OF COURTROOM (Dkt. 606)

          On May 21, 2014, the Court held a telephonic status conference with the parties

regarding the trial scheduled to begin May 27, 2014. The Court noted that, due to space

constraints in the courtroom, it would be closed to the public during voir dire.

          Although no counsel objected to this procedure during the telephonic status conference,

Defendant Johnathan Oldham has now filed an objection, citing Presley v. Georgia, 558 U.S. 209

(2010).     See Def. Obj. (Dkt. 606).     In Presley, the Supreme Court noted that, barring an

exception to the general rule, the accused does have a right to insist that the voir dire of the jurors

be public. Presley, 558 U.S. at 213. The Supreme Court explained that the trial court must

consider reasonable alternatives to closing the proceeding, and it must make findings adequate to

support the closure. Id. at 213-214.

          The Court is calling 81 prospective jurors for possible qualification, with the need to

qualify a jury pool of 45 in light of the Court’s agreement to use the Defendants’ requested jury

selection method, i.e., the strike method. For the voir dire portion of the trial, the courtroom

must accommodate the 81 prospective jurors, plus deputy marshals, court security officers and




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Case 4:12-cr-20287-MAG-MJH ECF No. 609, PageID.3209 Filed 05/23/14 Page 2 of 2




court personnel. As originally configured, the courtroom did not appear capable of holding any

additional persons.

          After receiving Defendant’s objection, the Court consulted with court security personnel

and has reconfigured the seating arrangements, such that a row of eight seats has been reserved

for use by the public. These seats will be available to the public on a first-come, first-serve

basis. Once the jury is selected, a larger section of the courtroom will become available to the

public.

          In this fashion, the courtroom will be open to the public, both during voir dire and

thereafter, consistent with Presley. Id. at 215 (approving the reservation of one or more rows for

the public).

          SO ORDERED.

          Dated: May 23, 2014                                s/Mark A. Goldsmith
                 Flint, Michigan                             MARK A. GOLDSMITH
                                                             United States District Judge

                                     CERTIFICATE OF SERVICE

               The undersigned certifies that the foregoing document was served upon counsel
of record and any unrepresented parties via the Court's ECF System to their respective email or
First Class U.S. mail addresses disclosed on the Notice of Electronic Filing on May 23, 2014.

                                                             s/Deborah J. Goltz
                                                             DEBORAH J. GOLTZ
                                                             Case Manager




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